         U N I T E D S TAT E S D I S T R I C T C O U RT
      FOR THE SOUTHERN DISTRICT OF TEXAS
                   HOUSTON DIVISION


Richard Lowery, on behalf of himself   Civil Action No.
and others similarly situated,         4:22-cv-3091

                   Plaintiff,
                                       Judge Charles Eskridge
v.

Texas A&M University System, et al.,

                   Defendants.


PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’
 MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
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plaintiff’s motion for class certification                                                               Page iii of iii
     A plaintiff needs only to allege standing and a claim on which relief may be

granted at the motion-to-dismiss stage, and all factual allegations in the complaint

must be presumed true. See Manhattan Community Access Corp. v. Halleck, 139 S. Ct.

1921, 1927 (2019) (“Because this case comes to us on a motion to dismiss, we accept
the allegations in the complaint as true.”). The allegations in the complaint easily

surmount the defendants’ jurisdictional and merits objections at this stage of the

litigation.

I.      The Defendants’               Jurisdictional            Objections           Are
        Without Merit
        A.     Mr. Lowery Has Alleged Article III Standing
     The defendants argue that Mr. Lowery lacks standing because he will not apply

for a faculty position at Texas A&M until the university repudiates its use of race
and sex preferences in faculty hiring. See Mot. to Dismiss, ECF No. 22, at 10; First

Amended Complaint, ECF No. 19, ¶ 41. But that does nothing to defeat Mr. Low-

ery’s standing. The Supreme Court has made clear that a potential applicant does

not need to apply or show that he is certain to apply before he can challenge a de-

fendant’s racially discriminatory selection practices. It is enough if Mr. Lowery

stands “able and ready” to apply for a faculty position at Texas A&M—even if he is

currently unwilling to apply on account of the defendants’ racially discriminatory

policies. See Northeast Florida Chapter of Associated General Contractors of America v.

City of Jacksonville, 508 U.S. 656, 666 (1993) (“To establish standing, therefore, a

party challenging a set-aside program like Jacksonville’s need only demonstrate that

it is able and ready to bid on contracts and that a discriminatory policy prevents it from

doing so on an equal basis.” (emphasis added)); Gratz v. Bollinger, 539 U.S. 244, 262

(2003) (“After being denied admission, Hamacher demonstrated that he was ‘able



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and ready’ to apply as a transfer student should the University cease to use race in

undergraduate admissions. He therefore has standing to seek prospective relief” (em-

phasis added)); Carney v. Adams, 141 S. Ct. 493, 499–503 (2020). Nothing is more is

needed. If a plaintiff stands “able and ready” to apply and a discriminatory selection
practice prevents him from being considered on an equal basis with others, then he

has standing to sue over those selection policies.

    Mr. Lowery alleges that he is “able and ready” to apply to Texas A&M,1 and that

the university’s “pervasive and ongoing use of race and sex preferences” prevents

him from competing with other applicants on an equal basis.2 And Mr. Lowery sup-

ports those allegations with factual details explaining his interest in seeking an ap-

pointment at Texas A&M,3 and as well as evidence of race and sex preferences at the

university4—even though details and evidence of that sort are not necessary to sur-

vive a motion to dismiss. That is more than enough to defeat a “facial” challenge to

subject-matter jurisdiction. See Menchaca v. Chrysler Credit Corp., 613 F.2d 507, 511

(5th Cir. 1980) (“A ‘facial attack’ on the complaint requires the court merely to look

and see if plaintiff has sufficiently alleged a basis of subject matter jurisdiction, and

the allegations in his complaint are taken as true for the purposes of the motion.”).

    The defendants try to get around this by suggesting that Mr. Lowery’s interest
in applying to Texas A&M isn’t genuine, and they appear to launch a “factual” attack

1. See First Amended Complaint, ECF No. 19, ¶ 34 (“Professor Lowery stands
   ‘able and ready’ to apply for a faculty appointment at Texas A&M University”).
2. See First Amended Complaint, ECF No. 19, ¶ 45 (“The pervasive and ongoing
   use of race and sex preferences and set-asides at Texas A&M University prevents
   Professor Lowery from competing with other applicants for these faculty posi-
   tions on an equal basis.”).
3. See First Amended Complaint, ECF No. 19, ¶¶ 34–44.
4. See First Amended Complaint, ECF No. 19, ¶¶ 9–30.


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under Rule 12(b)(1)5 by citing evidence that the University of Florida deploys “DEI

initiatives” like Texas A&M and touting a radio interview and recent lawsuit to sug-

gest that Mr. Lowery wants to remain at University of Texas at Austin. See Mot. to

Dismiss, ECF No. 22, at 6–7 & n.4; id. at 10.
    None of this comes close to defeating Mr. Lowery’s claim that he stands “able

and ready” to apply to Texas A&M, and Mr. Lowery has attached a sworn declara-

tion reaffirming his interest in Texas A&M and swearing to the truth of the com-

plaint’s allegations. See Lowery Decl. ¶¶ 3–15 (attached as Exhibit 1). The defend-

ants try to undermine Mr. Lowery by pointing to the fact that he formally applied to

the University of Florida despite its use of “DEI initiatives,”6 but the position for

which Mr. Lowery applied was at the Hamilton Center for Classical and Civic Edu-

cation, which is a separate college set up to be free of DEI and other policies that

subordinate meritocracy to diversity. See id. at ¶ 17. Mr. Lowery also expects that

Florida will soon get rid of DEI at its public universities given Governor DeSantis’s

stated desires to reform higher education. See id. So the fact that Mr. Lowery applied

for a position at the University of Florida notwithstanding its current profession of

commitment to diversity is unremarkable, and it does not in any way indicate that

Mr. Lowery is uninterested or not “able and ready” to apply for a faculty position at
Texas A&M. In addition, Mr. Lowery has spent a considerable amount of time trying

to get a college set up at Texas A&M from which he could hold a joint appointment



5. The defendants never explicitly say that they are making a “factual” rather than
   “facial” attack under Rule 12(b)(1), but their motion must be construed as a “fac-
   tual” attack because they deny the truth of the complaint’s allegations and rely
   on evidence outside the pleadings.
6. Mot. to Dismiss, ECF No. 22, at 6–7; id. at 10.


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with the business school, and Mr. Lowery will seek such an appointment if and when

the university scraps its discriminatory hiring practices. See id. at ¶ 18.

    The defendants are equally wrong to claim that Mr. Lowery’s lawsuit against the

University of Texas at Austin indicates that he intends to stay there. Mr. Lowery is
suing UT-Austin because he believes that they are looking for a pretense to fire him,

and his desire to avoid such an outcome does not in any way diminish his interest in

a faculty appointment from Texas A&M. See Lowery Decl. ¶ 19.

    Finally, the defendants tout a statement about the Liberty Institute that Mr.

Lowery made on a podcast and claim that this reveals an intent to remain at UT-

Austin. See Mot. to Dismiss, ECF No. 22, at 6 n.4 (quoting Mr. Lowery as having

said that I “don’t want to just walk away from having taken $6 million from taxpayers

and having it squandered on insanity.”). But the defendants are quoting Mr. Lowery

out of context. The UT administration will not allow Mr. Lowery to have anything

to do with the Liberty Institute (now Civitas). See Lowery Decl. ¶ 20. So when Mr.

Lowery says that he is “not walking away,” he is not proclaiming an intent to remain

on the UT faculty; he is simply trying to raise awareness that the Liberty Institute

will fall sort of expectations and that $6 million of taxpayer money will be wasted.

See id. Mr. Lowery does not “want to . . . walk away” from the fact that the taxpay-
ers’ money has been squandered; he did not say that he does not “want to walk

away” from his current appointment at UT-Austin.

    The defendants complain that Mr. Lowery’s stance would allow “any plaintiff”
to sue “any potential employer without ever applying for a job and simply allege that

he would have applied but for the employer’s discriminatory practices.” Mot. to Dis-

miss, ECF No. 22, at 10. That is untrue. A plaintiff must allege (and eventually




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prove) that he stands “able and ready to apply” for that job; it is not enough to

“simply allege that he would have applied but for the employer’s discriminatory

practices.” See Carney, 141 S. Ct. at 499–500. Mr. Lowery’s declaration explains in

detail how he stands “able and ready” to apply for a faculty position at Texas A&M.
See Lowery Decl. ¶¶ 3–21. And Mr. Lowery has produced far more in this regard

than the plaintiff in Carney, who produced nothing more than a “few words of gen-

eral intent” to apply for a judgeship. See Carney, 141 S. Ct. at 501. Mr. Lowery’s

declaration explains his dissatisfaction with his current job, the many reasons why

he wants to apply for a job at Texas A&M, and his reasons for not submitting a formal

application to Texas A&M at this time. See Lowery Decl. ¶¶ 4–15. And although the

defendants observe that the plaintiffs in Gratz and City of Jacksonville submitted for-

mal applications to the defendants in those cases before suing them over their dis-

criminatory selection practices,7 they do not cite any authority or statement from any

court declaring that a plaintiff must apply before suing in these situations. Indeed,

the Supreme Court has explicitly held that it is not necessary to formally apply before

suing an employer over a racially discriminatory hiring policy. See International

Brotherhood of Teamsters v. United States, 431 U.S. 324, 365–66 (1977).

    The defendants also claim that Mr. Lowery lacks standing because the alleged
race and sex preferences “relate to initiatives that have not been implemented or for

which Plaintiff is ineligible.” Mot. to Dismiss, ECF No. 22, at 11. That is also untrue.

The complaint provides not just allegations but evidence that Texas A&M’s busi-
ness school and its finance department are using racial preferences in faculty hir-

ing—and this is very department at Texas A&M from which Mr. Lowery wishes to


7. See Mot. to Dismiss, ECF No. 22, at 10–11.


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obtain an appointment. See First Amended Complaint, ECF No. 19, at ¶¶ 20–21 &

Ex. 2. The defendants say that Mr. Lowery is “ineligible” for this position at the

business school,8 but they do not explain how he could be ineligible when he has all

the needed credentials for an appointment in the finance department. See id. at ¶ 44
(explaining how “Professor Lowery would be an exceptionally strong candidate”).

The defendants also claim that the position that the business school “reserved” for

an underrepresented racial minority “remains under consideration,”9 but how does

that defeat Mr. Lowery’s standing? If the position “remains under consideration,”

that should buttress Mr. Lowery’s standing because the finance department is de-

ploying unlawful racial preferences and set-asides at this very moment. In all events,

regardless of whether the “reserved” position remains under consideration, it is

clear that the business school and the finance department are discriminating in favor

of underrepresented-minority faculty candidates. That inflicts Article III injury on

whites (and Asians) who stand “able and ready” to apply for those positions.

    Finally, the complaint specifically and repeatedly alleges that the use of race and

sex preferences pervades all components of Texas A&M University’s faculty hiring,

and that the cited evidence merely provides examples of a university-wide problem.

See First Amended Complaint, ECF No. 19, at ¶ 22 (“The memo of July 8, 2022,
from the office for diversity, and the Johnson e-mail of August 26, 2022, are merely

two of the most recent examples of the pervasive race and sex preferences that infect

every aspect of faculty hiring at Texas A&M University.”); id. at ¶ 30 (“The use of
race and sex preferences—as well as outright set-asides—is pervasive throughout



8. See Mot. to Dismiss, ECF No. 22, at 11.
9. Mot. to Dismiss, ECF No. 22, at 11.


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the university’s faculty hiring, and the problem extends far beyond the ACES Plus

program and the other discrete episodes mentioned in this complaint.”); id. at

¶¶ 31–32; id. at ¶¶ 45–46. The defendants do not deny these allegations, and they

do not present evidence to refute them. So even if the defendants could somehow
show that Mr. Lowery is “ineligible” for the reserved position at Texas A&M’s busi-

ness school, Mr. Lowery has still done more than enough to allege Article III stand-

ing at this stage of the proceedings.

       B.     Mr. Lowery’s Claims Are Ripe
    To determine whether a claim is ripe, a court must consider “the fitness of the

issues for judicial decision” and “hardship to the parties of withholding court con-

sideration.” Abbott Laboratories v. Gardner, 387 U.S. 136, 149 (1967). Each of these
factors cuts decisively in favor of ripeness.

    The issues are fit for judicial decision because they present pure questions of
law: Whether a public university’s use of race and sex preferences in faculty hiring

comports with Title VI, Title IX, 42 U.S.C. § 1981, and the Equal Protection Clause.

See New Orleans Public Service, Inc. v. Council of City of New Orleans, 833 F.2d 583,

587 (5th Cir. 1987) (“A case is generally ripe if any remaining questions are purely

legal ones”); Opulent Life Church v. City of Holly Springs, 697 F.3d 279, 287 (5th Cir.

2012) (“Opulent Life’s facial challenges are easily ripe. First, they are fit for judicial
decision because they raise pure questions of law.”). And withholding judicial con-

sideration will impose hardship on Mr. Lowery, who wishes to apply for a faculty

appointment at Texas A&M but will not do so until the university eliminates its use
of race and sex preferences. See First Amended Complaint, ECF No. 19, at ¶ 41.




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       C.     Counts 2 And 3 Fall Squarely Within The Ex Parte Young
              Exception To Sovereign Immunity
    Neither 42 U.S.C. § 1981 nor 42 U.S.C. § 1983 abrogates a state’s sovereign im-

munity, and Mr. Lowery concedes that he cannot sue the university under either of
these statutes. See First Amended Complaint, ECF No. 19, at ¶¶ 58, 65. Mr. Lowery

can, however, sue the individual defendants under the Ex parte Young exception to

sovereign immunity. To sue under Ex parte Young, a litigant needs only to allege “an

ongoing violation of federal law and seek[] relief properly characterized as prospec-
tive.” Verizon Maryland, Inc. v. Public Service Comm’n of Maryland, 535 U.S. 635, 645

(2002) (citation and internal quotation marks omitted). The plaintiff must also sue

a defendant who has “some connection with” the enforcement of the disputed stat-
ute or policy. Ex parte Young, 209 U.S. 123, 157 (1908); Whole Woman’s Health v.

Jackson, 142 S. Ct. 522, 534 (2021); City of Austin v. Paxton, 943 F.3d 993, 997 (5th

Cir. 2019).
    Mr. Lowery’s complaint easily surmounts these hurdles. He alleges repeated

and ongoing violations of Title VI, Title X, 42 U.S.C. § 1981, and the Equal Protec-

tion Clause. See First Amended Complaint, ECF No. 19, at ¶¶ 9–32; id. at 48–65.
The relief that Mr. Lowery requests is prospective in nature, and he is not seeking

money damages or retrospective relief. See id. at ¶ 66. And all of the individual de-
fendants are connected in some way to the university’s hiring practices. McGowan
and Amand signed the memo describing the ACES Plus program and its racial set-

asides, and Amand discussed the ACES Plus program with President Banks, who
personally approved the program and its racially discriminatory set-asides. See id. at
¶¶ 15–16. The university provost was cc’d on the ACES Plus memo,10 and both the


10. See First Amended Complaint, ECF No. 19, at ¶ 17.


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president and provost approve all faculty-hiring decisions for those who receive ten-

ure on arrival. See id. at ¶ 31. All four of the individual defendants have “some con-

nection with” the university’s hiring practices and the alleged violations of federal

law.
       The defendants claim that the violations are not “ongoing,” but the complaint

specifically alleges otherwise. See First Amended Complaint, ECF No. 19, at ¶ 31

(describing “these pervasive and ongoing violations of federal law.”); id. at ¶ 32 (de-

scribing “the pervasive and ongoing discriminatory preferences given to female and

non-Asian faculty candidates at Texas A&M University.”); id. at ¶ 45 (“The perva-

sive and ongoing use of race and sex preferences and set-asides at Texas A&M Uni-

versity prevents Professor Lowery from competing with other applicants for these

faculty positions on an equal basis.”). Those allegations must be accepted as true at

this stage of the proceedings. See Manhattan Community Access Corp., 139 S. Ct. at

1927; Verizon Maryland, 535 U.S. at 645 (a complaint needs only to “allege[] an on-

going violation of federal law” and seek prospective relief to survive a motion to dis-

miss on sovereign-immunity grounds).

       The defendants cite no authority to support the idea that a university’s president

and provost are improper defendants in an Ex parte Young lawsuit that challenges the
use of race and sex preferences in faculty hiring—especially when the complaint spe-

cifically accuses the president of approving the racially discriminatory policies and

advocating for race and sex preferences throughout her tenue at the university. See
First Amended Complaint, ECF No. 19, at ¶ 12–14. University presidents are named

as defendants all the time in lawsuits challenging public-university affirmative poli-

cies, even without allegations of their specific involvement in the discriminatory




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acts. The “Bollinger” in Gratz v. Bollinger, 539 U.S. 244 (2003), and Grutter v. Bol-

linger, 539 U.S. 306 (2003), was Lee Bollinger, who served as President of the Uni-

versity of Michigan during the time of the litigation.11 No one in those cases even

suggested that Bollinger was an improper defendant under Ex parte Young. A presi-
dent of public university will inherently have “some connection” to the hiring prac-

tices of that institution—and that is even more so for the subordinate administrators

who approve and oversee those practices.

II.     Mr. Lowery Has Stated A Claim On Which Relief May
        Be Granted
      The complaint repeatedly accuses the defendants of race and sex discrimination

in faculty hiring—and it describes the discriminatory practices in detail. See First

Amended Complaint, ECF No. 19, at ¶¶ 9–30. These allegations, which must be
accepted as true, state claims on which relief may be granted under Title VI, Title

IX, 42 U.S.C. § 1981, and the Equal Protection Clause.

        A.     Mr. Lowery Has Alleged Violations Of Title VI
      The defendants insist that Title VI allows for employment-discrimination
claims only in situations where “a primary objective of the Federal financial assis-

tance is to provide employment.” Mot. to Dismiss, ECF No. 22, at 14 (quoting 42
U.S.C. § 2000d-3). This argument is untenable, and the defendants are quoting the

statutory language out of context. 42 U.S.C. § 2000d-3 says:

        Nothing contained in this subchapter shall be construed to authorize ac-
        tion under this subchapter by any department or agency with respect to




11. See https://www.law.columbia.edu/faculty/lee-bollinger (“From November
    1996 to 2002, Bollinger was president of the University of Michigan.”).


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       any employment practice of any employer, employment agency, or la-
       bor organization except where a primary objective of the Federal fi-
       nancial assistance is to provide employment.
42 U.S.C. § 2000d-3 (emphasis added). This statute does not in any way curtail Mr.

Lowery’s claims against Texas A&M because Mr. Lowery is not a “department or

agency”; he is a private citizen that is suing to enforce Title VI.
    Section 2000d-3 should be enforced according to what it says: Only a “depart-

ment or agency” is forbidden to take action against employment practices under the
guise of enforcing Title VI. See Milner v. Department of the Navy, 562 U.S. 562, 575–

76 (2011) (“[W]e have no warrant to ignore clear statutory language on the ground

that other courts have done so.”). The Supreme Court’s recent decisions have
moved strongly toward textualist interpretations of statutes. See, e.g., Puerto Rico v.

Franklin Cal. Tax-Free Trust, 136 S. Ct. 1938, 1949 (2016) (“[O]ur constitutional

structure does not permit this Court to rewrite the statute that Congress has en-
acted.” (citations and internal quotation marks omitted)); Magwood v. Patterson, 561

U.S. 320, 334 (2010) (“We cannot replace the actual text with speculation as to Con-

gress’ intent.”); Ali v. Fed. Bureau of Prisons, 552 U.S. 214, 228 (2008) (“We are not
at liberty to rewrite the statute to reflect a meaning we deem more desirable. Instead,
we must give effect to the text Congress enacted . . . .”); Barnhart v. Sigmon Coal Co.,

534 U.S. 438, 461–62 (2002) (“[C]ourts must presume that a legislature says in a

statute what it means and means in a statute what it says there.”) (citation omitted).
And if the text produces a normatively undesirable result then Congress and not the

courts should fix that problem. See Lamie v. U.S. Trustee, 540 U.S. 526, 542 (2004)

(“If Congress enacted into law something different from what it intended, then it
should amend the statute to conform it to its intent.”); see also Bostock v. Clayton

County, 140 S. Ct. 1731, 1737 (2020) (“When the express terms of a statute give us


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one answer and extratextual considerations suggest another, it’s no contest. Only the

written word is the law, and all persons are entitled to its benefit.” (emphasis added)).

    No decision of the Fifth Circuit has considered whether 42 U.S.C. § 2000d–3

prevents anyone other than a “department or agency” from challenging employ-
ment practices committed by a Title VI recipient in situations where the “primary

objective” of the federal funding was not to provide employment. The defendants

cite a footnote in National Ass’n of Government Employees v. City Public Service Board

of San Antonio, 40 F.3d 698, 706 n.9 (5th Cir. 1994), but the footnote and opinion

contain no analysis and merely state, in conclusory fashion, that “[a] cause of action

under Title VI requires (1) that the defendant have received federal financial assis-

tance the primary objective of which is to provide employment (2) that was applied

by the defendant to discriminatory programs or activities.” Id. This statement is de-

monstrably untrue, because it would bar all lawsuits under Title VI unless the “pri-

mary objective” of the federal funding was to provide employment—even when the

lawsuit challenges racial preferences in student admissions rather than faculty hiring.

This Court should not follow such an ill-considered and patently false statement,

especially when the parties in National Ass’n of Government Employees did not litigate

the scope of 42 U.S.C. § 2000d–3 before the Fifth Circuit. See United States v. Ver-
dugo-Urquidez, 494 U.S. 259, 272 (1990) (“[A]ssumptions—even on jurisdictional

issues—are not binding in future cases that directly raise the questions.”). Waters v.

Churchill, 511 U.S. 661, 678 (1994) (plurality opinion) (“These cases cannot be read
as foreclosing an argument that they never dealt with.”); Legal Services Corp. v. Ve-

lazquez, 531 U.S. 533, 557 (2001) (Scalia, J., dissenting) (“Judicial decisions do not

stand as binding ‘precedent’ for points that were not raised, not argued, and hence




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not analyzed.”). The litigants in National Ass’n of Government Employees were con-

tent to concede that section 2000d-3’s restrictions extend beyond “departments or

agencies” to private entities who sue to enforce Title VI, and that cannot foreclose

Mr. Lowery from arguing otherwise in this litigation. See Amy Coney Barrett, Stare
Decisis and Due Process, 74 U. Colo. L. Rev. 1011 (2002).

    The defendants claim that Mr. Lowery lacks “statutory standing” under Title

VI, although they never explain what this means. The cause of action to enforce Title

VI was created by the courts; it is not a creature of statute. See Cannon v. University

of Chicago, 441 U.S. 677, 703 (1979) (“Congress . . . understood Title VI as author-

izing an implied private cause of action for victims of illegal discrimination.”). It is

impossible to understand what “statutory standing” means (or what the defendants

mean by invoking “statutory standing”) when there is no statute defining the cause

of action or the scope of permissible plaintiffs. See David P. Currie, Misunderstanding

Standing, 1981 Sup. Ct. Rev. 41. The “zone of interests” test that the defendants

invoke has been repudiated as a component of so-called prudential standing, and it

now exists only to determine whether the statutorily created cause of action author-

izes the plaintiff to sue. See Lexmark Int’l, Inc. v. Static Control Components, Inc., 572

U.S. 118, 129–31 (2014). But why wouldn’t Mr. Lowery’s anti-discrimination claims
fall within the “zone of interests sought to be protected” by Title VI—any more than

a student’s anti-discrimination claims over a university’s admissions policies? See

Students for Fair Admissions, Inc. v. President & Fellows of Harvard College, 261 F.
Supp. 3d 99 (D. Mass. 2017) (allowing organization of students and prospective ap-

plicants to sue under Title VI over Harvard’s use of racial preferences in student

admissions). Title VI seeks to protect all individuals from racial discrimination by




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entities that receive federal funds, and Mr. Lowery is as much in that “zone of inter-

ests” as any other alleged victim of racial discrimination.12

       B.     Mr. Lowery Has Alleged Violations Of Title IX
    Mr. Lowery has repeatedly accused Texas A&M of discriminating against men

and in favor of women in its faculty hiring, and those allegations must be assumed
true when deciding a motion to dismiss. See, e.g., First Amended Complaint, ECF

No. 19, at ¶¶ 9–14, 22–23, 29–30; id. at ¶ 13 (“Banks would regularly give depart-

ments new faculty openings that could be filled by only ‘underrepresented minori-
ties’ or women.”). Detailed factual allegations are not needed to survive a Rule

12(b)(6) motion. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (“[T]he pleading

standard Rule 8 announces does not require detailed factual allegations” (citation
and internal quotation marks omitted)); Bell Atlantic Corp. v. Twombly, 550 U.S. 544,

555 (2007) (“[A] complaint attacked by a Rule 12(b)(6) motion to dismiss does not
need detailed factual allegations”).

    Lakoski v. James, 66 F.3d 751, 753 (5th Cir. 1995), is no obstacle to Mr. Lowery’s

Title IX claims, because that case only forecloses Title IX litigants from suing for

money damages when Title VII provides a remedy. See id. at 753 (“We limit our

holding to individuals seeking money damages under Title IX directly or derivatively

through § 1983 for employment practices for which Title VII provides a remedy, ex-
pressing no opinion whether Title VII excludes suits seeking only declaratory or in-

junctive relief.”). And Lakoski is doubly inapplicable because Title VII does not



12. We do not object to dismissing the Title VI or Title IX claims against the indi-
    vidual defendants as duplicative if the Court allows the claims to proceed against
    Texas A&M as an institution. See, e.g., Johnson v. Hurtt, 893 F. Supp. 2d 817,
    827–28 (S.D. Tex. 2012).


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“provide a remedy” to Mr. Lowery, as he has not yet applied to Texas A&M and

cannot pursue a Title VII remedy until he does so. See Mot. to Dismiss, ECF No.

22, at 16 (admitting that Mr. Lowery, as “an aspirational applicant to TAMU, has no

recourse to Title VII.”).

       C.     Mr. Lowery Has Alleged Violations Of 42 U.S.C. § 1981
    Under the law of the Fifth Circuit, claims alleging violations of 42 U.S.C. § 1981

must be litigated under the cause of action established in in 42 U.S.C. § 1983. See

Oden v. Oktibbeha County, 246 F.3d 458, 462–64 (5th Cir. 2001). But Mr. Lowery
specifically invoked section 1983 as the cause of action for his section 1981 claim. See

First Amended Complaint, ECF No. 19, at ¶ 57 (“Professor Lowery seeks this relief

under 42 U.S.C. § 1983 . . . and any other law that might supply a cause of action for
the requested relief. See Johnson v. Railway Express Agency, Inc., 421 U.S. 454, 459–

60 (1975).”). So these claims should proceed as long as Mr. Lowery has alleged that
the defendants are violating 42 U.S.C. § 1981 in their faculty-hiring policies.

    The defendants deny that Mr. Lowery has alleged a prospective “contractual

relationship,”13 but that is untenable. The complaint specifically alleges that Mr.

Lowery wants to work at Texas A&M and stands “able and ready” to apply for a

faculty appointment. See First Amended Complaint, ECF No. 19, at ¶¶ 33–44; Low-

ery Decl. ¶¶ 3–21. A contract is needed to be employed as a professor at Texas A&M,
so Mr. Lowery has adequately alleged a “prospective contract.” An existing contract

is not necessary to sue under 42 U.S.C. § 1981, and courts consider section 1981

claims all the time from litigants who are seeking to enter a contractual relationship




13. See Mot. to Dismiss, ECF No. 22, at 17.


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but have not yet done so. See, e.g., Comcast Corp. v. National Assn. of African-Ameri-

can Owned Media, 140 S. Ct. 1009, 1013 (2020); General Building Contractors Assn.,

Inc. v. Pennsylvania, 458 U.S. 375, 389–90 (1982); 42 U.S.C. § 1981(b) (“For pur-

poses of this section, the term ‘make and enforce contracts’ includes the making,
performance, modification, and termination of contracts, and the enjoyment of all

benefits, privileges, terms, and conditions of the contractual relationship.” (empha-

sis added)).

       D.      Mr. Lowery Has Alleged Violations Of The Equal Protection
               Clause
    The defendants’ objections to Mr. Lowery’s equal-protection claim are merit-

less. Mr. Lowery has alleged a racially discriminatory purpose or motive throughout

his complaint, which accuses the defendants of consciously and intentionally at-
tempting to change the racial makeup of the Texas A&M faculty to make it more

closely resemble the demographics of the state of Texas as a whole. See First

Amended Complaint, ECF No. 19, at ¶¶ 9–32. Those allegations, if true, assuredly
qualify as purposeful racial discrimination. The Title VII framework that the defend-

ants cite is irrelevant because Mr. Lowery is suing to enjoin a racially discriminatory

hiring practice; he is not seeking relief for a particular discriminatory action directed
at him. Mr. Lowery needs only to allege that the defendants are intentionally dis-

criminating on account of race and sex in faculty hiring.




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                              CONCLUSION
   The motion to dismiss should be denied.

                                        Respectfully submitted.

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                  CERTIFICATE OF WORD COUNT
   I certify that this motion contains 4,981 words.

                                          /s/ Jonathan F. Mitchell
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